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                                                                  U.S. Department of Justice


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                                                                  December 30, 2021


BY EMAIL
The Honorable Douglas E. Arpert
United States Magistrate Judge
Clarkson S. Fisher Building and U.S. Courthouse
402 East State Street
Trenton, New Jersey 08608

            Re:     United States v. Township of Jackson et al.,
                    Civil Action No. 20-CV-6109 (MAS)(DEA)

Dear Magistrate Judge Arpert,

       We write to respectfully request a conference in this case as soon as possible
to address outstanding discovery issues and also to revise the current discovery
schedule in this case. As a primary matter, the United States still has not received
any documents related to the electronically stored information (“ESI”) in this case,
despite multiple promises made by defendants. Second, the United States has
identified a potential conflict of interest in defendants’ counsel representing former
Township Council and Planning Board members with respect to certain outstanding
subpoenas issued to those members pursuant to Federal Rule of Civil Procedure 45.
The current discovery schedule in this case sets the close of fact discovery on
January 8, 2022. Accordingly, we seek to alert the Court to these issues and to
revise the discovery schedule.

       By way of background, with respect to the first issue, defendants in this
action must produce electronically stored information (“ESI”) as part of their
responses to the United States’ discovery requests. On July 22, 2021, Brent
Pohlman, defense counsel in the associated private action, Agudath Israel of
America et al v. Township of Jackson, et al., 1 Civil Action No. 17-CV-3226, who is
responsible for coordinating production of the defendants’ ESI, informed the United
States that he would begin document collection for responsive ESI the following

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    This case has been consolidated with the instant case for the purposes of discovery.
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week, with the goal of providing a rolling production. Since that date, Mr. Pohlman
has represented to the parties on multiple occasions, and in at least one instance, to
the Court, that he had collected the documents at issue, needed to review them, and
would be producing them shortly. At the November 8, 2021 conference in this case,
Mr. Pohlman reiterated again that he had the documents at issue, but he needed
additional time to review them. The Court asked Mr. Pohlman to file a letter
setting forth a plan to produce the documents within thirty days. On November 9,
Mr. Pohlman submitted a letter to the Court proposing a rolling production plan to
the parties in which defendants would provide an initial set of documents followed
by a second set initially withheld for privilege review. The United States agreed to
this production plan on November 16 in an effort to expedite discovery. At the time
of his request, Mr. Pohlman represented to the United States that this plan would
allow for production of the initial set of documents as early as the following week.
Since that time, defendants have restated their interest in producing the documents
to the United States but have failed to actually produce any documents.

       With respect to the second issue, in the spring and early summer of 2021, the
United States sought to obtain information and documents relating to this case
from former Jackson Township Council and Planning Board members. Defense
counsel in this action informed us that they did not represent former members and
that the United States would need to issue subpoenas to those former members
pursuant to Federal Rule of Civil Procedure 45, which the United States did. Of
note, certain of those former members had taken positions adverse to the interests
of Jackson Township officials in depositions in a related case, and it is possible that
the information and documents requested by the subpoenas could contain material
adverse to the interests of defendants in this litigation. On July 30, 2021, Sean
Gertner, defense counsel on behalf of the Planning Board, informed the United
States that he would be representing the former Planning Board members with
respect to the subpoenas and that Greg McGuckin, defense counsel on behalf of the
Township, would represent former Township Council members with respect to the
subpoenas. The Township Ordinance authorizing this representation also
permitted representation of the subpoena recipients with respect to “other discovery
requests received for such litigation currently pending.” Despite a subpoena return
date of July 22, 2021, the United States have not received any responsive
documents. Given the nature of the documents requested by the subpoenas and
other discovery pending in this case, the United States raised concerns to defense
counsel that representing both the subpoena recipients and the current Township
Council and Planning Board members may implicate Rule 1.7 of the New Jersey
Rules of Professional Conduct. The United States has raised this with defense
counsel, but defense counsel has denied any conflict and has not offered any date
upon which they will produce the subpoenaed documents, which were due on July
22, 2021.

      As a result of our inability to obtain the requested ESI or subpoenaed
materials, the United States respectfully requests that the Court schedule a status
conference as soon as possible to discuss ESI production and revise the discovery
schedule in this case. The United States also respectfully requests an opportunity
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to submit more detailed briefing to the Court about its potential conflict of issue
concerns should the parties be unable to resolve the issue at the conference.

                                        Sincerely,

      Kristen Clarke                                        Philip R. Sellinger
      Assistant Attorney General                            United States Attorney
      Civil Rights Division                                 District of New Jersey


By:   /s David Gardner                               By:    Kelly Horan Florio
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